                                                                                                      Electronically Filed - Jackson - Kansas City - August 06, 2020 - 03:59 PM
                                                                               2016-CV16324

              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT KANSAS CITY

PATRICK TAGUE                                               )
524 NW Highcliffe Drive                                     )
Lee’s Summit, Missouri 64081                                )
                                                            )
               Plaintiff,                                   )
                                                            )
v.                                                          )       Case No.:_________________
                                                            )
THE CHEESECAKE FACTORY RESTAURANTS, INC.                    )
(Service via Cole County Sheriff’s Department)              )
Serve Registered Agent:                                     )
        CSC-Lawyers Incorporating Service Company           )
        221 Bolivar Street                                  )
        Jefferson City, Missouri 65101                      )
                                                            )
               Defendant.                                   )

                                 PETITION FOR DAMAGES

         COMES NOW Plaintiff Patrick Tague, by and through undersigned counsel, pursuant to

the Missouri Supreme Court Rules and for his Petition for Damages does hereby state:

         1.    Plaintiff is an individual and a resident of Lee’s Summit, Jackson County, Missouri.

         2.    Upon information and belief, Defendant The Cheesecake Factory Restaurants, Inc.

is a foreign corporation which is authorized to conduct business in the State of Missouri and in

Jackson County, Missouri. It can be served through its registered agent at the address indicated

above.

         3.    Jurisdiction and venue are proper inasmuch as the subject incident occurred in

Jackson County, Missouri on property owned, managed and/or controlled by Defendant.

                            FACTS COMMON TO ALL COUNTS

         4.    Upon information and belief, at all times relevant hereto, including on July 30,

2017, Defendant owned, managed, operated, controlled, used and/or possessed the restaurant




          Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 1 of 16
                                                                                                      Electronically Filed - Jackson - Kansas City - August 06, 2020 - 03:59 PM
named “The Cheesecake Factory” which was located at 4701 Wyandotte Street, Kansas City,

Jackson County, Missouri 64112 [hereinafter “the Restaurant”].

       5.      On July 30, 2017, Plaintiff was a patron inside the Restaurant.

       6.       While walking in the men’s restroom inside the Restaurant and rounding a corner

to walk toward the urinals, Plaintiff slipped on the wet floor [hereinafter “the Men’s Restroom

Floor”], causing Plaintiff to slip and fall to the ground and thereby sustain injuries.

       7.      Plaintiff fell due to the dangerous condition of the Men’s Restroom Floor inside the

Restaurant; namely, water had accumulated onto the Men’s Restroom Floor from one or more

urinals which made the Men’s Restroom Floor slippery.

       8.      Before Plaintiff began walking on the Men’s Restroom Floor inside the Restaurant,

he reasonably believed that the Men’s Restroom Floor was safe for him to walk upon.

       9.      There were no warnings provided to Plaintiff, either by written signs or orally

through employees of Defendant, as to the dangerous condition of the Men’s Restroom Floor

inside the Restaurant and, accordingly, the hazard presented thereby was unknown to Plaintiff.

       10.     Before Plaintiff fell, Defendant, through its employees and/or agents, knew or by

using ordinary care could have known that the Men’s Restroom Floor was wet.

       11.     Before Plaintiff fell, Defendant, through its employees and/or agents, knew or by

using ordinary care could have known that water from one or more of the urinals could overflow

or otherwise come onto the Men’s Restroom Floor inside the Restaurant.

       12.     Before Plaintiff fell, Defendant, through its employees and/or agents, had actual

and/or constructive knowledge of the dangerous condition of the Men’s Restroom Floor inside the

Restaurant.




                                                  2
        Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 2 of 16
                                                                                                         Electronically Filed - Jackson - Kansas City - August 06, 2020 - 03:59 PM
        13.    Before Plaintiff fell, Defendant, through its employees and/or agents, had actual

and/or constructive knowledge that water from one or more of the urinals could overflow or

otherwise come onto the Men’s Restroom Floor inside the Restaurant.

        14.    Despite the fact that Defendant knew or should have known that invitees like

Plaintiff may have been in a position to be injured by the condition of the Men’s Restroom Floor

inside the Restaurant, Defendant failed to take appropriate action so as to prevent this slipping

hazard and/or ensure that Plaintiff knew of the dangers presented by this slipping hazard.

        15.    As a result of the slip-and-fall described herein, Plaintiff felt pain in various parts

of his body, including most notably his back. The incident aggravated pre-existing back problems

which Plaintiff had. He underwent medical treatment which included, but was not limited to, visits

to various doctors, diagnostic imaging, and the taking of medication.

                   COUNT I – NEGLIGENCE – PREMISES LIABILITY
        16.    Plaintiff incorporates fully herein by reference the allegations set forth in

Paragraphs 1 through 15 of this Petition for Damages.

        17.    Defendant, acting through its employees and/or agents, had a duty to ensure the

safety of the invitees of the Restaurant, including Plaintiff, while present inside the Restaurant,

which included maintaining the Men’s Restroom Floor free of defects so it could be safely walked

upon.

        18.    Defendant, acting through its employees and/or agents, was obligated to ensure that

the Men’s Restroom Floor inside the Restaurant was free of defects which could cause or

contribute to injuries to invitees of the Restaurant, including Plaintiff, while present inside the

Restaurant.

        19.    Defendant, acting through its employees and/or agents, was obligated to ensure that

any and all hazards, particularly in regard to the condition of the Men’s Restroom Floor inside the


                                                 3
         Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 3 of 16
                                                                                                          Electronically Filed - Jackson - Kansas City - August 06, 2020 - 03:59 PM
Restaurant, would be readily apparent to invitees of the Restaurant, including Plaintiff, while

present inside the Restaurant.

        20.     On July 30, 2017, Defendant, acting through its employees and/or agents, failed to

use ordinary care under the circumstances to keep the Men’s Restroom Floor inside the Restaurant

safe for use by Plaintiff.

        21.     On July 30, 2017, Defendant, acting through its employees and/or agents, failed to

use ordinary care under the circumstances to warn Plaintiff of the hazard posed by the dangerous

condition of the Men’s Restroom Floor inside the Restaurant.

        22.     The dangerous condition of the Men’s Restroom Floor inside the Restaurant, as

described above, created a foreseeable risk of harm of the kind of injury which was incurred by

Plaintiff.

        23.     But for the dangerous condition of the Men’s Restroom Floor inside the Restaurant

and the lack of warnings about same, Plaintiff would not have fallen.

        24.     Defendant, acting through its employees and/or agents, breached its duty to Plaintiff

by:

                a.      failing to clear the water which had accumulated on the Men’s Restroom

                Floor inside the Restaurant;

                b.      failing to prevent water from the urinals from overflowing and/or otherwise

                accumulating on the Men’s Restroom Floor inside the Restaurant;

                c.      failing to close the Men’s Restroom inside the Restaurant;

                d.      failing to warn invitees using the Men’s Restroom inside the Restaurant of

                the dangerous condition of the Men’s Restroom Floor; and/or

                e.      failing to provide invitees an alternate route to the urinals and/or toilets in




                                                   4
         Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 4 of 16
                                                                                                         Electronically Filed - Jackson - Kansas City - August 06, 2020 - 03:59 PM
               the Men’s Restroom inside the Restaurant, if Defendant could not timely address

               the dangerous condition of the Men’s Restroom Floor.

       25.     As a direct and proximate result of the negligence of Defendant mentioned herein,

Plaintiff slipped and fell to the ground and sustained the following damages:

               a.      severe injuries and/or exacerbation of existing injuries to his back;

               b.      past and future physical and mental pain and suffering due to his injuries

               and the associated recovery process;

               c.      past and present mental anguish associated with his injuries;

               d.      past and future diminished quality of life, including but not limited to, an

               inability to perform daily activities with the same ease and regularity; and/or

               e.      past and future expenses for medical, therapeutic and pharmaceutical care

               and treatment of his personal injuries.

       26.     As a direct and proximate result of the negligence of Defendant and the injuries and

damages inflicted upon Plaintiff, Plaintiff has sustained damages in excess of Twenty-Five

Thousand Dollars ($25,000.00).

       WHEREFORE Plaintiff Patrick Tague respectfully requests that judgment on Count I of

his Petition for Damages be entered in his favor and against Defendant The Cheesecake Factory

Restaurants, Inc. for compensatory damages in an amount that is fair and reasonable, for pre-

judgment and post-judgment interest, for court costs, and for such other and further relief as is just

and proper under the circumstances.

                                 DEMAND FOR JURY TRIAL

       27.     Plaintiff demands a trial by jury on all issues so triable.




                                                  5
        Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 5 of 16
                                                                             Electronically Filed - Jackson - Kansas City - August 06, 2020 - 03:59 PM
                            /s/ Dennis J. Cassidy_________________________
                            Dennis J. Cassidy                    MO#46288
                            HUNTER & CASSIDY, LLC
                            600 Broadway, Suite 490
                            Kansas City, Missouri 64105
                            Telephone: (816) 421-1377
                            Facsimile: (816) 421-1833
                            E-Mail: dcassidy@huntercassidylaw.com
                            ATTORNEY FOR PLAINTIFF




                               6
Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 6 of 16
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                               Case Number: 2016-CV16324
 JAMES DALE YOUNGS
 Plaintiff/Petitioner:                                            Plaintiff’s/Petitioner’s Attorney/Address
 PATRICK TAGUE                                                    DENNIS CASSIDY
                                                                  HUNTER AND CASSIDY LLC
                                                                  600 BROADWAY BLVD SUITE 490
                                  vs.                             KANSAS CITY, MO 64105
 Defendant/Respondent:                                            Court Address:
 THE CHEESECAKE FACTORY RESTAURANTS,                              415 E 12th
 INC.                                                             KANSAS CITY, MO 64106
 Nature of Suit:
 CC Pers Injury-Other                                                                                                                (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: THE CHEESECAKE FACTORY RESTAURANTS, INC.
                                      Alias:
  SRV RA: CSC-LAWYERS INC SERV CO
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101

         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    07-AUG-2020                               _________________________________________
                                                        Date                                                   Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                            Date                                      Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.



OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-6710 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                      Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20                                   Page 7 of 16
                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




            Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 8 of 16
                                                                                                   6/2020
Electronically Filed - Jackson - Kansas City - September 14, 2020 - 02:54 PM




                                                                               Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 9 of 16
                                                                                             Electronically Filed - Jackson - Kansas City - September 14, 2020 - 02:54 PM
         IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                          AT KANSAS CITY

PATRICK TAGUE                                               )
                                                            )
              Plaintiff,                                    )
                                                            )
v.                                                          ) Case No.: 2016-CV16324
                                                            )
THE CHEESECAKE FACTORY RESTAURANTS, INC.                    )
(Service via Cole County Sheriff’s Department)              )
                                                            )
              Defendant.                                    )

                           REQUEST FOR ALIAS SUMMONS

       I hereby request that an alias summons be issued by the circuit clerk in this case,

because the first summons was not served on defendant(s).

       I am requesting an alias summons be issued for the following defendant(s):

       (1)    The Cheesecake Factory Restaurants, Inc.            (insert name)
              CSC-Lawyers Incorporating Service Company
              221 Bolivar Street
              Jefferson City, Missouri 65101

       (2)                                                        (insert name of second
                                                                  Defendant, if any)

       (3)                                                        (insert name of third
                                                                  Defendant, if any)

       (4)                                                        (insert name of fourth
                                                                  Defendant, if any)



Date 09/14/2020                     /s/ Dennis J. Cassidy
                                    (Signature of person requesting alias summons)




                                            1

     Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 10 of 16
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                               Case Number: 2016-CV16324
 JAMES DALE YOUNGS
 Plaintiff/Petitioner:                                            Plaintiff’s/Petitioner’s Attorney/Address
 PATRICK TAGUE                                                    DENNIS CASSIDY
                                                                  HUNTER AND CASSIDY LLC
                                                                  600 BROADWAY BLVD SUITE 490
                                  vs.                             KANSAS CITY, MO 64105
 Defendant/Respondent:                                            Court Address:
 THE CHEESECAKE FACTORY RESTAURANTS,                              415 E 12th
 INC.                                                             KANSAS CITY, MO 64106
 Nature of Suit:
 CC Pers Injury-Other                                                                                                                (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: THE CHEESECAKE FACTORY RESTAURANTS, INC.
                                      Alias:
  SRV RA: CSC-LAWYERS INC SERV C
  221 BOLIVAR STREET
  JEFFERSON CITY, MO 65101

         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    16-SEP-2020                               _________________________________________
                                                        Date                                                   Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                            Date                                      Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.



OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-8241 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                      Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20                                  Page 11 of 16
                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

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Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




           Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 12 of 16
                                                                                                   6/2020
Electronically Filed - Jackson - Kansas City - September 14, 2020 - 02:54 PM




                                                                               Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 13 of 16
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT KANSAS CITY

PATRICK TAGUE,

                        PLAINTIFF(S),                            CASE NO. 2016-CV16324
VS.                                                              DIVISION 6

THE CHEESECAKE FACTORY RESTAURANTS, INC.,

                        DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

          NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable JAMES DALE YOUNGS on 03-DEC-2020 in DIVISION 6 at 01:30 PM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.



2016-CV16324                    Page 1 of 2                DMSNCMCIV (2/2017)
      Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 14 of 16
                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.


                                              /S/ JAMES DALE YOUNGS
                                              JAMES DALE YOUNGS, Circuit Judge


                                       Certificate of Service

         This is to certify that a copy of the foregoing was mailed postage pre-paid or hand
delivered to the plaintiff with the delivery of the file-stamped copy of the petition. It is further
certified that a copy of the foregoing will be served with the summons on each defendant named
in this action.

Attorney for Plaintiff(s):
DENNIS CASSIDY, HUNTER AND CASSIDY LLC, 600 BROADWAY BLVD SUITE 490,
KANSAS CITY, MO 64105

Defendant(s):
THE CHEESECAKE FACTORY RESTAURANTS, INC.

Dated: 07-AUG-2020                                              MARY A. MARQUEZ
                                                                Court Administrator




2016-CV16324                    Page 2 of 2                DMSNCMCIV (2/2017)
      Case 4:20-cv-00868-GAF Document 1-1 Filed 10/28/20 Page 15 of 16
                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                             AT KANSAS CITY           AT INDEPENDENCE



RE:  PATRICK TAGUE V THE CHEESECAKE FACTORY RESTAURANTS
CASE NO:  2016-CV16324


TO:     DENNIS CASSIDY
        HUNTER AND CASSIDY LLC
        600 BROADWAY BLVD SUITE 490
        KANSAS CITY, MO 64105

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on 9-14-20.
However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                      RULE 68.7 – VITAL STATISTICS REPORT
  Additional service instructions are needed.                           Need Certificate of dissolution of marriage form.
  Incorrect case number/filed in wrong county.
  Document is unreadable.                                             RULE 74.14 SUPREME CT – FOREIGN JUDGMENT
                                                                        Authentication of foreign judgment required.
RULE 4.2 (2)                                                            Affidavit pursuant to Supreme Court Rule 74.14
  Need Circuit Court Form 4
                                                                      RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 – COLLECTIONS OF DEPOSIT                                     ACTIONS
  No fee, or incorrect fee, received; fee required is $______.          Affidavit for Service by Publication required pursuant to
  Insufficient Filing Fee; Please Remit $______                          Supreme Court Rule 54.12c.
  No signature on check/form 1695.                                      Order for Service by Publication required pursuant to
  No request to proceed in forma pauperis.                               Supreme Court Rule 54.12c.
  No personal checks accepted.                                          Notice for Service by Publication required pursuant to
                                                                         Supreme Court Rule 54.12c.
RULE 68.1                                                               Affidavit for Service by Certified/Registered Mail
  Need Circuit Court Form 17                                             pursuant to Supreme Court Rule 54.12b.

    OTHER: How is service to be done? Any questions, please call 881-1370.
    Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
    The private process server listed is not on our approved list.
    Execution in effect. Return date _________. Request may be resubmitted within one week prior to return date.
    Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without
prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.
Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed SEPTEMBER 15, 2020 to:
                                                                        COURT ADMINISTRATOR’S OFFICE
                                                                       DEPARTMENT OF CIVIL RECORDS
                                                                  CIRCUIT COURT OF JACKSON COUNTY, MISSOURI


            SEPTEMBER 15, 2020                                   By
                  Date                                                       Deputy Court Administrator
                                                                       415 East 12th St., Kansas City, Missouri 64106
                                                                       308 W. Kansas, Independence, Missouri 64050




                  Case
Case no. 2016-CV16324    4:20-cv-00868-GAF Document
                                               Page 1 of1-1
                                                        1   Filed 10/28/20 Page 16 of 16 DMSLCI5 (8/2014)
